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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


UNITED STATES OF AMERICA,                  )
                                           )
      Plaintiff,                           )
                                           )
      v.                                   )
                                           ) NO. 1:20-cr-0096-TWP-DLP-07
DESIRAE EVANS,                             )
                                           )
      Defendant.                           )


               MOTION TO DISMISS SUPERSEDING INDICTMENT

      The United States of America, by counsel, Josh J. Minkler, United States

Attorney for the Southern District of Indiana, and Bradley A. Blackington,

Assistant United States Attorney, now files this Motion to Dismiss Original

Indictment and avers the following in support of this Motion:

      1.      On March 17, 2020, a federal grand jury returned an Indictment

against twelve, including Tia Dimmett. (Dkt. 1.)

      2.      On July 22, 2020, a federal grand jury returned a Superseding

Indictment against the above-captioned defendants (including Evans). (Dkt. 262.)

      3.      On October 21, 2020, the Court accepted Dimmett’s plea of guilty to

Counts One of the original Indictment.

      4.      The government requests the Court to dismiss the Superseding

Indictment against Evans in lieu of the charges contained in the original

Indictment.
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                                         Respectfully submitted,

                                         JOSH J. MINKLER
                                         United States Attorney

                                   By:   s/Bradley A. Blackington
                                         Bradley A. Blackington
                                         Assistant United States Attorney
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                             CERTIFICATE OF SERVICE

      I hereby certify that on October 21, 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all applicable parties by

operation of the Court’s electronic filing system. Parties may access this filing

through the Court’s system.




                                 By:   s/Bradley A. Blackington
                                       Bradley A. Blackington
                                       Senior Litigation Counsel
